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                                   12                               UNITED STATES DISTRICT COURT

                                   13               NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION

                                   14   Kevin Ramirez, on his own behalf and on behalf Case No.
                                        of all others similarly situated,
                                   15                                                  CLASS ACTION COMPLAINT
                                                        Plaintiffs,
                                   16
                                               v.                                  CLASS ACTION
                                   17
                                        ELECTRONIC ARTS, INC.,
                                   18
                                                       Defendant.
                                   19                                              JURY TRIAL DEMANDED
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                                   1

                                   2
                                         “We should be very reticent of creating an experience where the outcome can be
                                   3
                                         influenced by spending money. Loot boxes play on all the mechanics of gambling except
                                   4     for the ability to get more money out in the end.”

                                   5     “Do we want to be like Las Vegas, with slot machines or do we want to be widely
                                         respected as creators of products that customers can trust?”
                                   6
                                         “We have businesses that profit by doing their customers harm.”
                                   7

                                   8     - Tim Sweeney, Co-Founder of Epic Games

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                                   1          Plaintiff Kevin Ramirez files this Class Action Complaint against Electronic Arts, Inc (“EA”

                                   2   or “the Company”) for damages, injunctive relief, and other equitable relief. Plaintiff brings this

                                   3   action based upon personal knowledge of the facts pertaining to himself, and on information and

                                   4   belief as to all other matters, by and through the investigation of undersigned counsel.

                                   5                                     NATURE OF THE ACTION

                                   6          1.      The California legislature has declared a public policy against gambling activities:

                                   7   “Gambling can become addictive and is not an activity to be promoted or legitimized as

                                   8   entertainment for children and families.” Cal. Bus. & Prof. Code § 19801(c). Through its wildly

                                   9   popular video games it markets to consumers, EA engages in predatory practices enticing
                                  10   consumers, including children and adults, to engage in gambling and similar addictive conduct in

                                  11   violation of this policy and other laws designed to protect consumers and to prohibit such practices.
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                                  12          2.      Not unlike Big Tobacco’s “Joe Camel” advertising campaign, EA relies on creating

                                  13   addictive behaviors in consumers to generate huge revenues. EA is most well-known for its sports

                                  14   franchise games, including its FIFA soccer, Madden NFL, NHL, and NBA Live series of games.

                                  15   Over the last several years, EA’s sports franchise games have brought in billions of dollars in

                                  16   significant part from in-game purchases by gamers.

                                  17          3.      A large percentage of EA’s sports franchise game revenues come from the in-game

                                  18   purchases known in the gaming industry as “loot boxes” or “loot crates.” The specific Loot Boxes

                                  19   in EA’s sports franchise games are called “Ultimate Team Packs.”
                                  20          4.       EA’s Ultimate Team Packs are Loot Boxes. Buying the Packs are nothing more than

                                  21   a gambling bet. Purchased using real money, the Ultimate Team Packs are simply wagers on

                                  22   completely randomized chances within the game to win valuable professional players and other

                                  23   items for the EA gamer’s virtual sports team. EA assigns a skill rating ranging from 0 to 100 to each

                                  24   professional athlete represented in the game; the higher the virtual athlete’s skill, the higher the

                                  25   assigned rating.1 If won, skilled players are valuable to gamers because the gamers often compete

                                  26
                                  27   1
                                              In order to avoid confusion, throughout this Complaint a video game player is referred to as
                                       a “gamer” or “consumer,” while the professional athlete represented in the game is referred to as a
                                  28
                                       “player.”
                                                                                        2
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                                   1   against each other online and in tournaments. Higher rated players perform better in the virtual

                                   2   games, so any gamer with higher-rated players has a competitive advantage when competing. In

                                   3   fact, the only realistic way a gamer can be competitive is to have highly rated players on the gamer’s

                                   4   virtual team. And the only way a gamer can obtain the most highly rated players is to purchase the

                                   5   Ultimate Team Packs (i.e., a Loot Box) and hope to overcome the odds to win a highly rated player

                                   6   upon “opening” the Pack.

                                   7          5.      As in all of EA’s games with Loot Boxes, the Ultimate Team Packs are purchased

                                   8   using in-game currency. This in-game currency, in turn, is purchased with real money.

                                   9          6.      Unsurprisingly, the highest rated players in the game are also the most difficult to
                                  10   obtain, and least likely to be received via Ultimate Team Packs. Conversely, most players and items

                                  11   in the Ultimate Team Packs tend to be common or undesirable to the gamer.
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                                  12          7.      Some of these specific high-demand players in the game can be so difficult (and

                                  13   costly) to obtain, that a “gray market” has sprung up on the internet – websites where the game

                                  14   accounts and in some cases individual players can be (and are) bought and sold for real money

                                  15   outside of the game itself. Numerous websites have been created to broker these transactions,

                                  16   bringing buyer and seller together to sell these items and accounts, for real money outside the game.

                                  17          8.      The EA Ultimate Team Packs have all the hallmarks of a Las Vegas-style slot

                                  18   machine, including the psychological aspects to encourage and create addiction. Moreover, under

                                  19   California law they constitute illegal “slot machines or devices” when played on a console,
                                  20   computer, mobile phone, tablet or other similar device. California Penal Code § 330(d) broadly

                                  21   defines an unlawful “slot machine or device” as,

                                  22          a machine, apparatus, or device that is adapted, or may readily be converted, for use
                                              in a way that, as a result of the insertion of any piece of money or coin or other object,
                                  23          or by any other means, the machine or device is caused to operate or may be operated,
                                  24          and by reason of any element of hazard or chance or of other outcome of operation
                                              unpredictable by him or her, the user may receive or become entitled to receive any
                                  25          piece of money, credit, allowance, or thing of value, or additional chance or right to
                                              use the slot machine or device, or any check, slug, token, or memorandum, whether
                                  26
                                              of value or otherwise, which may be exchanged for any money, credit, allowance, or
                                  27          thing of value, or which may be given in trade, irrespective of whether it may, apart
                                              from any element of hazard or chance or unpredictable outcome of operation, also
                                  28
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                                   1           sell, deliver, or present some merchandise, indication of weight, entertainment, or
                                               other thing of value.
                                   2

                                   3   Cal. Pen. Code § 330(b)(d).

                                   4           9.     Governments, regulators, psychologists and other researchers, all agree that Loot

                                   5   Boxes, like the ones Defendant employs in its games, operate as gambling devices for those that

                                   6   play the game and that they create and reinforce addictive behaviors.

                                   7           10.    For instance, the Government of Belgium examined the use of Loot Boxes in various

                                   8   video games – specifically including EA’s Ultimate Team Packs in its FIFA soccer game – and

                                   9   determined that they violated that country’s gambling laws, specifically finding,
                                  10           The paid loot boxes in the examined games Overwatch, [EA’s] FIFA 18 and
                                               Counter-Strike: Global Offensive fit the description of a game of chance because all
                                  11           of the constitutive elements of gambling are present (game, wager, chance, win/loss).
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                                  12           11.    Likewise, in September 2019, Great Britain Parliament’s Digital, Culture, Media and
                                  13   Sport Committee issued a report to Parliament determining that Loot Boxes constitute gambling and
                                  14   encourage addictive behavior and recommending that the sale of Loot Boxes to children should be
                                  15   banned. Committee Chair Damian Collins MP said:
                                  16           Loot boxes are particularly lucrative for games companies but come at a high cost,
                                  17           particularly for problem gamblers, while exposing children to potential harm. Buying
                                               a loot box is playing a game of chance and it is high time the gambling laws caught
                                  18           up. We challenge the Government to explain why loot boxes should be exempt from
                                               the Gambling Act.
                                  19
                                  20           12.    Similarly, psychologists who have studied the issue agree that Loot Boxes correlate
                                  21   with problem gambling among both children and adults. For example, one such published review
                                  22   of current studies concluded the scientific findings are “very consistent”:
                                  23           [T]he findings are very consistent that there is an association between problem
                                               gambling and loot box buying among both adolescents and adults (and that the
                                  24           association may be even stronger among adolescents).2
                                  25   ///
                                  26
                                  27
                                       2
                                              Mark D. Griffiths, Loot box buying among adolescent gamers: A cause for concern?,
                                  28
                                       Education and Health, 37(3):63-66 (2019).
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                                   1          13.    Even EA implicitly concedes the Ultimate Team Packs in its games are a form of

                                   2   gambling. Although the reasonable consumer will not read or understand them, like the California

                                   3   state lottery, EA discloses the odds of winning or “pack probabilities” for its games. EA’s “Pack

                                   4   Probability in FIFA Ultimate Team” states:

                                   5          On the FIFA Ultimate Team Store screen, you’ll see an option under every pack
                                              available for purchase that reads “Show Pack Probabilities.” Because there are
                                   6          thousands of player items in [FIFA Ultimate Team], they are categorized by item
                                   7          type and rating. The percentages that you see are the minimum probability of getting
                                              one or more players in the ratings range and category listed. … Any probability
                                   8          percentages that you see are on a pack-by-pack basis and are not cumulative. That
                                              means that each pack opening is an independent event; opening multiple packs does
                                   9
                                              not change the likelihood of being awarded an item from a specific category. If you
                                  10          flip a coin three times and get heads each time, you still have a 50% chance of getting
                                              heads if you flip the coin again.3
                                  11
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                                  12          14.    EA is earning huge sums from its predatory Loot Boxes. According to one analyst,

                                  13   Loot Boxes account for approximately 30% of EA’s revenues. According to the EA’s most recent

                                  14   annual report, EA earned more than $5.5 billion dollars in net revenue for fiscal year 2020, with

                                  15   approximately 27% of that amount from its Ultimate Team sales. And EA’s revenue from Loot

                                  16   Boxes is only getting larger. EA’s most recent quarterly report disclosed record growth. Quarterly

                                  17   net bookings were $1.39 billion, up $608 million from the prior year, and Ultimate Team was up

                                  18   70%.

                                  19          15.    EA is fully aware it violates gambling laws, but it has conducted the cost-benefit
                                  20   analysis and has chosen to go forward with its current “business model” because violating the

                                  21   gambling laws is so profitable. EA acknowledges “governmental organizations have applied

                                  22   existing [gambling] laws and regulations to certain mechanics commonly within our games,

                                  23   including the Ultimate Team mode associated with our sports franchise.” EA is aware of the

                                  24   consistent research findings on the predatory nature of its Loot Boxes and EA could protect

                                  25   unsuspecting adults and children by removing Loot Boxes from its games. Instead, EA chooses

                                  26   massive short-term profits and merely seeks to limit its liability with regard to investors and
                                  27

                                  28   3
                                              https://www.ea.com/games/fifa/news/fifa-pack-probabilities
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                                   1   securities litigation with disclosures buried in its public filings that “Certain of our business models

                                   2   are subjects to new laws or regulations…related to gambling.”4

                                   3                                              THE PARTIES

                                   4          16.     Plaintiff Kevin Ramirez is a citizen of the State of California and a resident of

                                   5   Riverside County. Since approximately 2011, Plaintiff Ramirez has owned and played FIFA’s

                                   6   Ultimate Teams series of games, and since 2013, he has owned and played Madden NFL’ Ultimate

                                   7   Teams series of games. Plaintiff purchased and plays EA’s FIFA and Madden NFL video games on

                                   8   a Microsoft Xbox console. In the course of playing FIFA and Madden NFL, and as a result of

                                   9   Defendant’s conduct, Plaintiff Ramirez has been induced to spend money to purchase Ultimate
                                  10   Team Pack “Loot Boxes” in-game. Plaintiff continues to own and play the games. Plaintiff most

                                  11   recently spent money to purchase Ultimate Team Pack “Loot Boxes” in FIFA in approximately June
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                                  12   2020. Plaintiff estimates he has spent in excess of $600 on in-game Loot Boxes in exchange for the

                                  13   random-chance possibility of winning valuable players. To the extent he plays the EA games in the

                                  14   future, he will be subjected to Defendant’s predatory Loot Box scheme.

                                  15          17.     Defendant Electronic Arts, Inc is a video game company with its principal place of

                                  16   business at 209 Redwood Shores Parkway, Redwood City, California. EA’s Redwood City,

                                  17   California headquarters is where its officers direct, control, and coordinate the company’s activities

                                  18   relating to the development, marketing and sale of the games and Loot Boxes at issue. EA is engaged

                                  19   in continuous and significant business in the State of California consisting of, among other things,
                                  20   design and development, retail operations, advertising, marketing, and distribution activities.

                                  21                                     JURISDICTION AND VENUE

                                  22          18.     This Court has diversity jurisdiction over the claims asserted herein on behalf of a

                                  23   nationwide class pursuant to 28 U.S.C. § 1332, as amended in February 2005 by the Class Action

                                  24   Fairness Act. Jurisdiction is proper because:

                                  25                  (a)     The proposed class includes more than 100 members, and the named plaintiff

                                  26   and many of the class members are citizens of states that are diverse from the state of Defendant’s
                                  27

                                  28   4
                                              Electronic Arts, Inc., Fiscal Year 2020 Annual Report (Form 10-K) (May 5, 2020).
                                                                                        6
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                                   1   citizenship, the amount in controversy in this class action exceeds five million dollars, exclusive of

                                   2   interest and costs; and,

                                   3                   (b)     Defendant has purposefully availed itself of the privilege of conducting

                                   4   business activities within the State of California, where EA has its principal place of business; where

                                   5   its officers direct, control, and coordinate EA’s activities, and where EA engaged in the unlawful

                                   6   conduct alleged herein.

                                   7           19.     Venue properly lies in this District pursuant to 28 U.S.C. § 1391(b)(1), as EA is

                                   8   headquartered in this District.

                                   9                                     INTRADISTRICT ASSIGNMENT
                                  10           20.     Pursuant to Civil L.R. 3-2(c) and (d), assignment to the San Jose Division is proper

                                  11   because a substantial part of the conduct which gives rise to Plaintiff’s claims occurred in this district
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                                  12   and specifically in San Mateo County, where Defendant is headquartered.

                                  13                                     SUBSTANTIVE ALLEGATIONS

                                  14           Defendant EA Sports and its Loot Box Games

                                  15           21.     EA develops, markets, publishes and sells video games, content and services that can

                                  16   be played on game consoles (e.g., Microsoft Xbox and Sony PlayStation), PCs, mobile phones and

                                  17   tablets (e.g., Apple and Google / Android video game applications). EA’s portfolio includes brands

                                  18   that it either wholly owns (such as Battlefield, The Sims, Apex Legends, Need for Speed and Plants

                                  19   v. Zombies) or licenses from others (such as FIFA, Madden NFL and Star Wars).
                                  20           22.     EA makes money principally through two methods of generating revenue from the

                                  21   games it sells. First, it profits from the game sales themselves – with about half being purchased as

                                  22   digital downloads and half as physical discs. Second, after the game is purchased, EA entices the

                                  23   gamer to make in-game purchases in order to improve the playing experience, be more competitive

                                  24   in online games and tournaments, and advance in the game.

                                  25           23.     EA also offers free download versions of certain mobile games, such as FIFA,

                                  26   Madden NFL, and NHL. EA partners with Apple and Google to make the games available on
                                  27   Apple’s iPhones and iPads through the Apple App Store and on Android-based phones and tablets

                                  28   through the Google Play Store. EA monetizes its free mobile games through the sale of Loot Boxes.
                                                                                     7
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                                   1          24.     EA’s most lucrative games are its sports franchise games such as FIFA soccer,

                                   2   Madden NFL, NHL, and NBA Live. However, EA has a stable of other popular games, including

                                   3   the “Star Wars Battlefront” series of games, “Apex Legends,” and the “Plants vs. Zombies”

                                   4   franchise. Most, if not all, of EA’s games rely heavily on the Loot Box mechanism to monetize the

                                   5   gamer and make billions of dollars in revenues. Depending on the game, the Loot Boxes take

                                   6   different forms or appearances, but they all meet the definition of gambling as set forth herein and

                                   7   rely on the same predatory practices to consumers to spend money on games of chance.

                                   8          25.     In its SEC Filings, EA refers to its “Ultimate Team” Loot Box mechanics as part of

                                   9   its “live services” in the games themselves. These gambling mechanisms have become a massive
                                  10   revenue generator for EA, and this monetization through “gamblification” is growing. EA admits

                                  11   Loot Boxes are a crucial and growing part of its multi-billion-dollar revenue stream:
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                                  12          Our most popular live service is the extra content purchased for the Ultimate Team
                                              mode associated with our sports franchises. Ultimate Team allows players to collect
                                  13          current and former professional players in order to build and compete as a
                                  14          personalized team. Net revenue from extra content sales for Ultimate Team was
                                              $1,369 million, $1,180 million and $867 million during fiscal years 2019, 2018 and
                                  15          2017, respectively, a substantial portion of which was derived from FIFA Ultimate
                                              Team. Our digital transformation also is creating opportunities in platforms, content
                                  16
                                              models and the way in which players engage with our games and services. For
                                  17          example, we have leveraged brands and assets from franchises historically associated
                                              traditional gaming, such as FIFA, Madden NFL, The Sims, SimCity and Star Wars,
                                  18          to create free-to-play games that are monetized through live services provided with
                                  19          the game.5

                                  20          26.     FIFA is an international soccer video game series developed, marketed by and sold
                                  21   by EA. FIFA is usually updated and re-designated every year, such that FIFA 18 became FIFA 19,
                                  22   which then became FIFA 20 for this year. While every annual update adds new features for game
                                  23   play, all the game versions in the FIFA series contain the Ultimate Team Packs for purchase – which
                                  24   always operate the same way. The video game is available for purchase and download to be played
                                  25   on video game consoles (such as the Sony PS4, Microsoft Xbox One, and Nintendo Switch) and
                                  26
                                  27
                                       5
                                              Electronic Arts, Inc., Quarterly Report for Period Ended Dec. 31, 2019 (Form 10-Q) (Feb.
                                  28
                                       4, 2020).
                                                                                        8
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                                   1   computers. There is also a mobile app version for the game that is available for download to

                                   2   smartphones and tablets through the Apple App Store and Google Play store. FIFA is EA’s largest

                                   3   and most popular game and franchise, representing 12% of its net revenue in fiscal year 2020.

                                   4             27.   Similar to the FIFA series, Madden NFL is an American football video game series

                                   5   developed, marketed and sold by EA. It is currently the only officially licensed National Football

                                   6   League (NFL) video game. It has been updated every year like the FIFA series. This game is also

                                   7   available for purchase and download to be played on video game consoles and computers. There are

                                   8   also mobile app versions available for this game to download to smartphones and tablets.

                                   9             28.   NHL is the EA sports franchise game series based on the (and licensed with) the
                                  10   National Hockey League. It is purchased, downloaded, and played just like the FIFA and Madden

                                  11   NFL series. It is also updated every year.
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                                  12             29.   NBA Live is the EA sports franchise game series based on the National Basketball

                                  13   Association. It is purchased, downloaded, and played just like the FIFA, Madden NFL, and NHL

                                  14   series. It is also updated yearly, can be played on video game consoles or computer, and has mobile

                                  15   app versions available for download to smartphones and tablets through the Apple and Google app

                                  16   stores.

                                  17             30.   EA’s FIFA, Madden NFL, NHL, and NBA Live games are integral parts of EA’s

                                  18   sports franchise games and, for purposes of this lawsuit, all operate in the same manner. Plaintiff

                                  19   refers to them collectively herein. Each of these sports franchise games includes different modes of
                                  20   play. Gamers can choose to participate in challenges, play against the computer, or play online in

                                  21   challenges, games, leagues, and tournaments.

                                  22             31.   Each of the games use the Loot Box mechanism in the same way in order to monetize

                                  23   gamers. In each of the sports franchise games, the Loot Box mechanism is an Ultimate Team Pack.

                                  24   These Packs are purchased to create a team of highly-rated players in the “Ultimate Team” mode of

                                  25   game play, in order to compete against other gamers online.

                                  26             Ultimate Team Packs and Loot Boxes Explained
                                  27             32.   “Loot Boxes” are in-game mechanisms that provide players with completely

                                  28   randomized virtual items from a purchase.
                                                                                   9
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                                   1          33.     EA explains in securities filings that it sells “variable digital items” to consumers:

                                   2   “[W]e have included in certain games the ability for players to purchase digital items, including in

                                   3   some instances virtual ‘packs,’ ‘boxes,’ or ‘crates’ that contain variable digital items.”6

                                   4          34.     EA is well aware that its Loot Boxes constitute illegal gambling and concede that its

                                   5   “business models are subject to . . . application of existing laws and regulations, including those

                                   6   related to gambling.”7 Nonetheless, it chooses to sell Loot Boxes, risking violation of anti-gambling

                                   7   laws because they are so profitable.

                                   8          35.     In their paper entitled “Predatory monetization schemes in video games (e.g., ‘loot

                                   9   boxes’) and internet gaming disorder,” Professors Daniel King and Paul Delfabbro provided the
                                  10   following description of a Loot Box:

                                  11          A loot box refers to an in‐game reward system that can be purchased repeatedly with
                                              real money to obtain a random selection of virtual items. The low probability of
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                                  12          obtaining a desired item means that the player will have to purchase an indeterminate
                                              number of loot boxes to obtain the item. Loot boxes resemble gambling slot
                                  13
                                              machines because they require no player skill and have a randomly determined
                                  14          outcome (i.e. prize).8

                                  15          36.     To further entice consumers to spend real money on the randomized Ultimate Team

                                  16   Packs, the games use a “virtual” money system within the game. Although the names are different,

                                  17   in each game the in-game currency is obtained and used in the same manner. For instance, in FIFA,

                                  18   EA refers to the in-game currencies as “Points” and “Coins” while in Madden NFL it is called

                                  19   “Madden Cash.”

                                  20          37.     These in-game currencies can be earned as a result of in-game performance or can

                                  21   be purchased with real money. For example, FIFA “Points” can only be purchased with real money

                                  22   but FIFA “Coins” can be earned through in-game performance or purchased with real money. As

                                  23   the gamer advances in the game, EA designs the game so it takes an increasing amount of time spent

                                  24   playing the game in order to achieve enough in-game currency to purchase an Ultimate Team Pack.

                                  25

                                  26   6
                                              Electronic Arts, Inc., Fiscal Year 2020 Annual Report (Form 10-K) (May 5, 2020).
                                       7
                                  27          Id.
                                       8
                                               King, Daniel and Delfabbro, Paul H., “Predatory monetization schemes in video games (e.g.
                                  28
                                       ‘loot boxes’) and internet gaming disorder,” Addiction, 2018.
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                                   1   Thus, it becomes increasingly attractive to spend money to purchase Ultimate Team Packs instead

                                   2   of “earning” them through game play. As discussed in paragraph 76 below, scientific researchers

                                   3   study this aspect of video game mechanics. EA and other developers intentionally design games this

                                   4   way to increase the gamers’ frustration with the game’s free or earned aspects and profit off the

                                   5   ensuing “demand through inconvenience.”

                                   6           38.    Moreover, EA issues a “new” version of the game every year – requiring the gamer

                                   7   to start over with a new “Ultimate Team” if he wants to play the latest version of the game

                                   8   competitively. For example, in 2018 the game FIFA 18 was re-issued with certain tweaks and new

                                   9   features as FIFA 19, and a year later was re-issued again as FIFA 20. When re-issuing an updated
                                  10   version of the game each year, new players are added, player ratings are adjusted, and the gamer’s

                                  11   Ultimate Team resets. Thus, a gamer playing FIFA 18 may have spent substantial sums of money
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                                  12   creating an Ultimate Team in that game. But if the same gamer wants to play and compete in the

                                  13   new version of FIFA 19, he has to start all over again – purchasing more Ultimate Team Packs to

                                  14   build his team in that game. His FIFA 18 “Ultimate Team” does not transfer to the new FIFA 19

                                  15   game.

                                  16           39.    EA’s Loot Box Ultimate Team Packs are purchased in-game through the device –

                                  17   either the game console, computer, or (increasingly) the smartphone. It is usually done with a credit

                                  18   card linked to the account or with gift cards purchased online and at retail stores, or directly from

                                  19   EA. The money from a credit card on file, or the value of the gift cards (called “EA Origin Game
                                  20   Cards”) can be deposited electronically into an EA virtual “Wallet” from which it can then be spent

                                  21   in-game. EA purportedly allows minors aged 13 or older to “own” and use their own EA “wallets”

                                  22   without parental supervision, although EA has no method for policing or monitoring the age of the

                                  23   EA wallet user. As a result, the age limit of 13 years-old is not enforced and anyone can create a

                                  24   virtual “wallet.”

                                  25           40.     EA Origin Game Cards can be purchased online and at various retail stores in

                                  26   different dollar denominations. For example, a gamer may purchase an EA Origin Game Card worth
                                  27   $20 from BestBuy, Walmart, or Amazon. See, e.g., https://www.walmart.com/ip/EA-20-eCard-

                                  28   Email-Delivery-Electronic-Arts/21125837 (Walmart $20 EA Origin Game Card). Once the money
                                                                                   11
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                                   1   is deposited electronically into a gamer’s EA virtual “wallet,” the money can be used to purchase

                                   2   in-game currency such as “Coins”, “Points” or “Madden Cash” to then purchase Ultimate Team

                                   3   Packs.

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                                  15            41.   To purchase Ultimate Team Packs, all the gamer has to do is go to “store” on the

                                  16   main menu. Ultimate Team Packs are usually listed for sale by the necessary Ultimate Team “Coins”

                                  17   or “Points”, or by a specific dollar amount. For example, in Madden NFL, Ultimate Team Points

                                  18   can be purchased with Madden “Cash.” Clicking on the Pack will offer the gamer the opportunity

                                  19   to purchase additional Madden Cash with real currency, which is then converted to Ultimate Team
                                  20   Points. As demonstrated in the screenshot below, a FIFA gamer can choose to purchase the Loot

                                  21   Box described as an “Elite Special” Ultimate Team Pack for $1.99 or spend 50,000 Ultimate Team

                                  22   Coins (purchased with real money) to purchase the Loot Box called “Player Pack: 1 Gold+ Player

                                  23   70+.”

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                                  11          42.     Once purchased, the Ultimate Team Pack is opened by the gamer. EA’s mechanism
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                                  12   does everything possible to build up the gamer’s hoped-for win, tension, and excitement. EA builds

                                  13   in physiologically arousing gambling cues to this pernicious aspect of its video games. Once the

                                  14   gamer presses the card, music starts, lights begin streaming across the screen, and the card bursts

                                  15   open with different color lights or icons representing the type of card so one can see how rare they

                                  16   are based on their color. Only after all the cards burst open, is the gamer able to see which player

                                  17   has been obtained. This colorful, animated system more often than not gives the gamer lowly-rated

                                  18   players or even duplicates of players already obtained. The odds that the gamer will receive exactly

                                  19   the item desired are extremely small.
                                  20          43.     While EA games now “display” certain odds of receiving levels of players, this

                                  21   limited information does not disclose the odds of receiving any particular player and it is not

                                  22   prominently displayed but hidden in a small “more info” box that must be clicked on right before

                                  23   purchase. However, what is prominently displayed are the most desirable and unlikely rewards, that

                                  24   picture only star players. While the odds of receiving these players are low, gamers are enticed to

                                  25   believe that they will receive one of the highly-rated, star players by buying the pack. Below is a

                                  26   screenshot of a FIFA Ultimate Team Pack available to purchase and the limited disclosure of the
                                  27   gambling probabilities accessed by clicking “more info”:

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                                  21          44.    The excitement and disappointment is captured in numerous YouTube videos. The

                                  22   gamers in the YouTube videos are sitting or standing tensely waiting for the card to be revealed,

                                  23   sometimes pacing back and forth in the room, when the lights are revealed, the gamer’s eyes open

                                  24   wide with excitement. When a high value player is revealed, the gamer jumps up and down and

                                  25   screams in excitement.9

                                  26
                                  27   9
                                              For example, a YouTube video of a Madden Ultimate Team pack opening with over 250,000
                                       views is available at: https://www.youtube.com/watch?v=OUP1OiF0eWw, and a FIFA Ultimate
                                  28
                                       Team pack opening with over 14 million views                       is available at        at:
                                                                                     14
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                                   1           45.    All these circumstances attendant with the Ultimate Team Pack opening are

                                   2   intentionally designed to create a “slot machine effect.” Thus, even when a gamer is not receiving

                                   3   the desired result – which happens the vast majority of the time – there still exists a belief that the

                                   4   next Loot Box will contain it. This “near miss” gambling cue is further reinforced when viewing

                                   5   favorable results from other gamers playing their games and opening Loot Boxes on YouTube or

                                   6   other social media.

                                   7           46.    EA understands and intentionally fosters this effect. EA pays certain people to

                                   8   “stream” their playing of EA games, and to post videos of their game play on YouTube.com and

                                   9   other social media websites showing the excitement of betting and winning good players when
                                  10   opening Ultimate Team Packs as a means of enticing gamers. Seeing other gamers – including

                                  11   popular or well-known video gamers – playing the game and winning big encourages other gamers
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                                  12   to bet and purchase Ultimate Team Packs and convinces them that they too could win these rare and

                                  13   valuable players.10

                                  14           47.    One researcher described the physical experience invoked by this Loot Box

                                  15   mechanism:

                                  16           Research by Kim (1998) found that waiting for the outcome of a gamble can activate
                                               the brain’s chemical reward system, releasing endorphins that create pleasure. In a
                                  17           gaming context, think of someone who really wants the Pharah Anubis skin in
                                               Overwatch. They buy five loot boxes and get excited during the big flashy box-
                                  18
                                               opening animation. This excitement happens five times in a short space of time, with
                                  19           five flashy box-opening animations that are almost an event in itself.11

                                  20           48.    EA also utilizes in-game cues that link the gamer to gambling. For example, FIFA

                                  21   reproduces gambling companies’ logos in-game (e.g., Bet365, Dafabet and Betway) that are present

                                  22   in real-life teams’ uniforms. In contrast to FIFA’s policy, real-life teams with gambling sponsors

                                  23   are not permitted to produce real-life children’s uniforms with those sponsors involved. One

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                                  25   https://www.youtube.com/watch?v=CX0OZtaQ_kQ.
                                       10
                                             See, e.g., “Top ‘Live Streamers’ Get $50,000 an Hour to Play New Videogames Online”
                                  26
                                       The Wall Street Journal, May 18, 2019, Needleman, Sarah E.
                                  27   11
                                              “The Psychology of Loot Boxes and Microtransactions,” Psychology and Video Games
                                       (June 6, 2018), available at http://platinumparagon.info/the-psychology-of-loot-boxes-and-
                                  28
                                       microtransactions/.
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                                   1   commenter states that “[t]he ubiquity of gambling messages throughout EA’s game facilitates a

                                   2   normalisation of gambling for anyone playing FIFA.”12

                                   3           49.    Commenting on the Loot Box mechanism incorporated into games like EA’s sports

                                   4   franchise games, Hawaiian congressman Chris Lee noted that these Loot Boxes “are specifically

                                   5   designed to exploit and manipulate the addictive nature of human psychology.”

                                   6           Ultimate Team Packs Create and Reinforce Addictive Behaviors Akin to Gambling
                                               Addiction
                                   7

                                   8           50.    Psychologists call the principle by which Loot Boxes work on the human mind,

                                   9   “variable rate enforcement.” This kind of reward structure underpins many forms of gambling. It
                                  10   results in people quickly acquiring behaviors and repeating these behaviors frequently in hopes of

                                  11   receiving a reward. Dopamine cells are most active when there is maximum uncertainty, and
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                                  12   dopamine system responds more to an uncertain reward than if the same reward delivered on a

                                  13   predictable basis.

                                  14           51.    For numerous reasons minors, and adolescents in particular, are especially vulnerable

                                  15   to this type of manipulation. By some estimates, teenage gambling is the fastest rising gambling

                                  16   addiction. “Teenage gambling, like alcohol and drug abuse in the 1930s, is the fastest growing

                                  17   addiction.”

                                  18           52.    First, adolescents have low impulse control. The teenage brain is still developing; the

                                  19   part of the brain that’s responsible for good impulse control and decision making is not fully
                                  20   developed. Dr. Frances Jensen, the chair of the department of neurology at the University of

                                  21   Pennsylvania Perelman School of Medicine and formally Harvard professor and director of

                                  22   neuroscience at Boston’s Children’s Hospital, explains it as follows: “their frontal lobes are there.

                                  23   They’re there and they’re built. They’re just not accessed in as rapid a manner because the insulation

                                  24   to the wiring to them isn’t fully developed, so the signals go more slowly. Hence, teenagers are not

                                  25   as readily able to access their frontal lobe to say, oh, I better not do this. An adult is much more

                                  26   likely to control impulses or weigh out different factors in decisions, where a teenager may not
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                                               https://www.pcgamesn.com/fifa-20/gambling
                                                                                    16
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                                   1   actually have full on-line, in-the-moment capacity.” Dr. Frances Jensen, Why Teens are Impulsive-

                                   2   Prone and Should Protect Their Brains, NPR (Jan. 28, 2015). Adolescence is a developmental

                                   3   period characterized by suboptimal decisions and actions. Casey et al., The Adolescent Brain,

                                   4   Annals of the New York Academy of Sciences, 1124(1):111–126 (2008). During this time, impulse

                                   5   control is still relatively immature. Id.

                                   6           53.     Second, adolescents are more inclined to engage in risk-taking behaviors and risky

                                   7   decision making than are adults. Gardener M & Steinberg L, Peer influence on risk taking, risk

                                   8   preference, and risky decision making in adolescence and adulthood: an experimental study,

                                   9   Developmental Psychology, 41:625-635 (2005). Adolescents and young adults are more inclined to
                                  10   risk taking because development of executive brain function and appreciation of risk is continuing

                                  11   in this period. Kelley et al., Risk taking and novelty seeking in adolescence: Introduction to Part I,
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                                  12   Annals of the New York Academy of Sciences, 1021(1): 27-32 (2004); Steinberg L, Cognitive and

                                  13   affective development in adolescence, Trends in Cognitive Sciences, 9(2):69-74 (2005).

                                  14           54.     Third, not only are adolescents more likely to take risks, but they are also more prone

                                  15   to addiction. “They build a reward circuit around that substance to a much stronger, harder, longer,

                                  16   stronger addiction. That is an important fact for an adolescent to know about themselves - that they

                                  17   can get addicted faster.” Dr. Frances Jensen, Why Teens are Impulsive- Prone and Should Protect

                                  18   Their Brains, NPR (Jan. 28, 2015).

                                  19           55.     Last, children and adolescents often lack a critical understanding of money and
                                  20   financial management. Approximately one in four students in the 15 countries and economies that

                                  21   took part in the latest OECD Programme for International Student Assessment (PISA) test of

                                  22   financial literacy are unable to make even simple decisions on everyday spending, while only one

                                  23   in ten can understand complex issues, such as income tax. OECD, PISA 2015 Results (Volume IV);

                                  24   Students’ Financial Literacy, PISA, OECD Publishing, Paris (2017).

                                  25           56.     As set forth in detail above, purchasing and opening a Loot Box – by design – is

                                  26   visually, physically, and aurally stimulating. Opening a Loot Box gives the player a rush; the
                                  27   moment of anticipation followed by release. The Loot Box mechanism has been proven to be

                                  28   effective on adults, and its effects are only intensified when used on minors who are more prone to
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                                   1   engage in risk-taking behaviors, more prone to gambling addiction, and “are less equipped to

                                   2   critically appraise the value proposition of these schemes.”

                                   3           57.    In fact, virtually every study published to date on the connection between Loot Boxes

                                   4   and gambling has found an association. Keith Whyte, Executive Director of the National Council

                                   5   On Problem Gambling, explained to the FTC that Loot Boxes and slot machines are “so closely

                                   6   related”:

                                   7           Given all everything we know about the similarities between boxes and slot
                                               machines, it would actually be astounding and surprising were there not such a
                                   8           connection. They are, in many ways, so closely related.13
                                   9           58.    Professor David Zendle was one of the invited academic participants to the Federal
                                  10   Trade Commission’s August 2019 workshop investigating Loot Boxes. Dr. Zendle has published
                                  11   numerous peer-reviewed papers discussing his research and surveys examining links and similarities
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                                  12   between gambling and Loot Boxes. Based on his and others’ scientific findings, Dr. Zendle
                                  13   explained to the FTC the serious potential consequences of exposing vulnerable consumers to video
                                  14   game loot boxes:
                                  15           That’s what I’m here to talk about today. So the reason why problem gambling is
                                  16           such a big topic when it comes to loot boxes, and why people care about gambling
                                               and loot boxes, is because loot boxes look so much like gambling. Both when you’re
                                  17           playing on a roulette wheel or while you’re opening a loot box, your wagering
                                               something that you have in your hand of value now on the uncertain hope of getting
                                  18
                                               something of greater value later on. It’s that reason that loot boxes have tripped
                                  19           gambling regulations in a couple of countries within Europe, because of those formal
                                               similarities, and because of those formal similarities, people are a bit worried for a
                                  20           very long time that loot boxes by act as a gateway to problem gambling, particularly
                                  21           amongst young and vulnerable populations….
                                               We know that one of the main pathways to problem gambling is a process of
                                  22
                                               conditioning, whereby the gambler comes to need and expect the excitement
                                  23           associated with the gambling win. So what we think-- one of the possible
                                               explanations for this effect, is a situation in which people are buying a loot box,
                                  24           getting excitement, buying a loot box, getting excitement, buying a loot box, getting
                                  25           that reward, getting that hit, going out into the real world, seeing something that has

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                                               Workshop transcript from Inside the Game: Unlocking the Consumer Issues Surrounding
                                  27   Loot     Boxes.     An      FTC       Workshop      (Aug.     7,    2019),    available   at
                                       https://www.ftc.gov/system/files/documents/videos/inside-game-unlocking-consumer-issues-
                                  28
                                       surrounding-loot-boxes-session-2/ftc_loot_boxes_workshop_transcript_segment_2.pdf.
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                                   1           many of the formal characteristics of the loot box, like a slot machine, and that
                                               conditioning transfers over. So therefore, spending money on loot boxes, literally
                                   2           causes people to engage in gambling, leading to problem gambling.14
                                   3           59.    Dan Trolaro, the Assistant Executive Director of the Council on Compulsive
                                   4   Gambling of New Jersey, explained, “The mechanics within a loot box look and feel like a gamble.
                                   5   Once minors are exposed to game of chance mechanisms, there is a significantly higher risk that
                                   6   they will have problems with it at a later stage in their lives. The literature indicates that exposure
                                   7   at an early age increases the risk of addiction and the severity of the addiction.”
                                   8           60.    Other experts agree. For example, the mental health director of the UK’s National
                                   9   Health Service summarized their studies by declaring that the gaming industry is “setting kids up
                                  10   for addiction by teaching them to gamble.” According to Keith Whyte, the Executive Director of
                                  11   the National Council On Problem Gambling, “Those who play loot boxes, may well be on their way
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                                  12   to developing gambling problems due to their loot box play.”
                                  13           61.    Peer-reviewed empirical research bears this out. For example, Drs. Zendle, Meyer
                                  14   and Over (2019) examined the relationship between Loot Box buying and problem gambling in a
                                  15   survey of 1,115 adolescents aged 16-18 years. They reported that “loot boxes either cause problem
                                  16   gambling among older adolescents, allow game companies to profit from adolescents with gambling
                                  17   problems for massive monetary rewards, or both.”15
                                  18           62.    Zendle and Cairns (2018) reports the findings from their scientific survey of 7,422
                                  19   gamers aged 18 or older. The researchers measured both how much these gamers spent on loot boxes
                                  20   and the severity of their problem gambling in order to “establish[] both the existence, the size, and
                                  21   the importance of links between purchasing loot boxes and problem gambling.” Drs. Zendle and
                                  22   Cairns concluded their research “provides empirical evidence of a relationship between loot box use
                                  23   and problem gambling. The relationship seen here was neither small, nor trivial. It was stronger than
                                  24   previously observed relationships between problem gambling and factors like alcohol abuse, drug
                                  25   use, and depression.” The relationship between other types of microtransactions and problem
                                  26
                                       14
                                  27           Id.
                                       15
                                             Zendle et al., Adolescents and loot boxes: links with problem gambling and motivations for
                                  28
                                       purchase, Royal Society Open Science, 6(6):190049 (June 2019).
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                                   1   gambling was not as strong, indicating a specific roll of loot boxes in this association. The

                                   2   researchers also observed that “[d]ue to the formal features that loot boxes share with other forms

                                   3   of gambling, they may be acting as a ‘gateway’ to problem gambling amongst gamers.”16

                                   4           63.    Zendle and Cairns’ 2019 peer-reviewed paper titled “Loot boxes are again linked to

                                   5   problem gambling: Results of a replication study,” discussed results of a survey that assessed the

                                   6   replicability of their survey results published in 2018 (discussed in Paragraph 62 above). The 2019

                                   7   paper analyzed the researchers’ large-scale survey of 1,172 gamers aged 18 and older. Drs. Zendle

                                   8   and Cairns observed “Loot boxes share psychological and structural features with gambling,” that

                                   9   there was again a “significant link” between problem gambling and loot box spending, and “the
                                  10   severity of the link seen here suggests that relevant authorities should seriously consider restricting

                                  11   access to loot boxes as if they were a form of gambling.”17
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                                  12           64.    Brooks and Clark (2019) found that risky loot box use is associated with increased

                                  13   problem gambling symptoms and gambling related cognitions. Drs. Brooks and Clark studied the

                                  14   relationships between gaming involvement, engagement with loot boxes, and their associations with

                                  15   disordered gambling and gambling-related cognitions. In doing so, the researchers conducted two

                                  16   different surveys: one involving 144 adults and the other of 113 undergraduate students. According

                                  17   to the authors, the survey results “demonstrate that besides the surface similarity of loot boxes to

                                  18   gambling, loot box engagement is correlated with gambling beliefs and problematic gaming

                                  19   behaviour in adult gamers.”18
                                  20           65.    Similarly, in their 2019 peer-reviewed paper, Dr. Wen Li and co-authors from the

                                  21   Center for Gambling Studies at Rutgers University found an association between problem gambling

                                  22   symptoms and loot box spending, problem gaming symptoms and loot box purchasing, and loot box

                                  23   purchasing and psychological distress. The researchers collected data from 618 adult video gamers

                                  24
                                       16
                                  25           David Zendle & Paul Cairns, Video game loot boxes are linked to problem gambling: Results
                                       of a large-scale survey, PLoS ONE, 13(11):e0206767 (2018).
                                  26   17
                                               David Zendle & Paul Cairns, Loot boxes are again linked to problem gambling: Results of
                                  27   a replication study, PLoS ONE, 14(3):e0213194 (2019).
                                       18
                                             Gabriel A. Brooks & Luke Clark, Associations between loot box use, problematic gaming
                                  28
                                       and gambling, and gambling-related cognitions, Addictive Behaviors, 96:26-34 (2019).
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                                   1   via an online survey to explore the relationship between loot box purchases and problem video

                                   2   gaming and gambling behaviors. Drs. Li et al. observed that “[t]he advent of loot box purchasing in

                                   3   video games has effectively introduced gambling into the video gaming environment” and

                                   4   concluded “loot box purchasing was directly related to increased problem video gaming and

                                   5   problem gambling severity” and “loot box purchases may also be indirectly related to mental distress

                                   6   due to its association with problem video gaming and problem gambling behavior.”19

                                   7           66.    Profs. Macey and Hamari (2018), who conducted a survey and found “evidence of a

                                   8   strong relationship between loot box opening (paid and unpaid) and gambling,” stated that “a real-

                                   9   world analogue [of loot boxes] are lottery scratch cards.”20
                                  10           Ultimate Team Packs Are Predatory and Designed to Entice Gamers to Gamble

                                  11           67.    Even some gamers have acknowledged that Loot Boxes like EA’s Ultimate Team
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                                  12   Packs are gambling. “As a gamer let me tell you, Loot Boxes have gotten out of control. Gaming

                                  13   companies have expanded Loot Box systems, made them more predatory, and even done what they

                                  14   could to specifically target children with them.”21

                                  15           68.    Numerous gamers comment on forums discussing their addiction to buying Loot

                                  16   Boxes in EA sports games, such as FIFA and Madden NFL, offering their gambling experiences,

                                  17   addiction stories, and providing phone numbers and websites to other gamers to obtain help with

                                  18   their Ultimate Team gambling addiction.22 For example, one Madden NFL gamer described how

                                  19   the game actively encouraged more gambling in ways similar to casinos.23
                                  20
                                       19
                                  21         Li et al., The relationship of loot box purchases to problem video gaming and problem
                                       gambling, Addictive Behaviors, 97:27-34 (2019).
                                  22   20
                                              Joseph Macey & Juho Hamari, eSports, skins and loot boxes: Participants, practices and
                                  23   problematic behavior associated with emergent forms of gambling, New Media & Society,
                                       21(1):42-59 (2019).
                                  24   21
                                              https://www.forbes.com/sites/tedknutson/2019/08/08/video-games-can-be-a-gateway-to-
                                  25   problem-gambling-ftc-warned/#5e0cee2c978a
                                       22
                                              https://www.reddit.com/r/MaddenUltimateTeam/comments/as25yg/gambling
                                  26
                                       _and_addiction/;           https://www.reddit.com/r/MaddenUltimateTeam/comments/7fxklr/mut
                                  27   _gambling_problem/;      https://old.muthead.com/forums/madden-nfl-mobile/madden-nfl-mobile-
                                       discussion/1021905-i-cant-stop-buying-madden-cash .
                                  28   23
                                               https://www.reddit.com/r/MaddenUltimateTeam/comments/absuv9/addiction
                                                                                    21
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                                   1           69.    As part of EA’s predatory Loot Box scheme, EA intentionally makes the process of

                                   2   buying Ultimate Team Packs unnecessarily complex. Rather than simply sell Ultimate Team Packs

                                   3   for denominations in U.S. Dollars, EA has come up with surrogate currencies and lists the purchase

                                   4   price in “Coins,” “Points,” “Madden Cash,” and other metrics deceptively designed to seem

                                   5   unrelated to actual money.

                                   6           70.    In FIFA, an Ultimate Team Pack can be purchased using “Coins,” which in turn may

                                   7   be purchased using “Points,” which may be purchased using real dollars. Madden NFL, NHL, and

                                   8   NBA Live have similar systems in place. As a result, it is frequently difficult for gamers to determine

                                   9   the actual amount of real money that gamer is spending due to the multiple layers of currency (i.e.
                                  10   from US dollars to FIFA points, to FIFA coins).

                                  11           71.    This intermediate level of virtual currency acquired through abnormal exchange rates
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                                  12   is designed to reduce the salience of the real-world cost of Loot Box purchases and “disconnect” the

                                  13   gamer from the concern that real money is being gambled. The real money conversion necessary to

                                  14   purchase Loot Boxes has been analogized to the deception underlying casinos requiring the use of

                                  15   exchanged chips as its “in-game currency” because it is known players gamble “significantly more

                                  16   with chips than real cash.”24 In connection with its investigation into Loot Boxes, the Brussels

                                  17   Gaming Commission reached a similar conclusion about the deceptiveness of gambling with what

                                  18   is perceived to be virtual currency:

                                  19           The use of points (coins) and especially their size are psychologically very
                                               sophisticated and aimed at creating a personal reality which is then disconnected
                                  20           from the real world. FIFA 18 teaches players to think in FUT currency and FIFA
                                  21           coins. . . .. In Overwatch and Star Wars Battlefront II, the value of real money is also
                                               fully disconnected from the value of the in-game currency, causing players to lose
                                  22           contact with the real value.
                                  23           72.    For example, a “Gold” Pack in FIFA is listed for 50,000 Coins. To buy Coins, EA

                                  24   offers to sell 250,000 Coins for 1,000 FIFA Points. 1,000 FIFA points in turn will cost $9.99. Based

                                  25
                                       _by_design_the_ ways_ea/
                                  26
                                       24
                                              Xiao Leon Y. and Henderson Laura L., “Towards and Ethical Game Design Solution to Loot
                                  27   Boxes: a Commentary on King and Delfabbro,” Int’l J. of Mental Health and Addiction, 2019. Julius
                                       Weintraub coined the famous saying “The guy who invented poker was bright, but the guy who
                                  28
                                       invented the chip was a genius.”
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                                   1   on these relationships, the actual price of the Gold Pack is approximately $1.99. Other Packs can be

                                   2   much more expensive. A FIFA “Elite” Pack costs approximately 5,000 FIFA points, which is

                                   3   approximately $49.99. In Madden NFL, a “Gold” Pack may cost $1.99 while an “Ultra” Pack costs

                                   4   10,000 Madden Cash, or approximately $99.99.

                                   5           73.    Using “Coins” that are purchased with “Points” that are purchased with actual

                                   6   currency makes it difficult to tell how much a gamer is actually spending. For example, one such

                                   7   FIFA gamer was surprised to learn he had spent over $10,000 in two years on his Ultimate Team.25

                                   8   There is simply no legitimate basis for making the purchase of an Ultimate Team Pack so complex.

                                   9           74.    The producer and writer for the Bleacher Report gaming content also describes FIFA
                                  10   as a gambling system:

                                  11           Like any effective gambling system, the big prizes—say, Lionel Messi or Cristiano
                                               Ronaldo—are not going to appear often but always seem within reach. This can lead
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                                  12           to accumulating massive spends without knowing. A common response to the survey
                                  13           was players admitting they didn’t realise how much they’d spent until they sat down
                                               to work it out. One user estimated spending $280,000 across a decade.26
                                  14
                                               75.    EA’s sports games force gamers to purchase Loot Boxes and gamble in order to
                                  15
                                       potentially win better players and be competitive in the game. At the January 2019 FIFA Ultimate
                                  16
                                       Team Champions Cup, a staple of the FIFA esports calendar, gamers were competing with each
                                  17
                                       other using teams with a real-world value of approximately $27,000.27
                                  18
                                               76.    Indeed, EA’s games are deceptively designed to encourage spending and gambling
                                  19
                                       by using game mechanics that create and exploit dissatisfaction and urgency unless money is spent
                                  20
                                       on in-game items and Loot Boxes. Drs. Hamari et al. studied what drives consumers to purchase in-
                                  21
                                       game “premium items.” One of the strategies of game developers (including EA) “has been to
                                  22

                                  23
                                       25
                                              “FIFA player uses GDPR to find out everything EA has on him, realises he's spent over
                                  24
                                       $10,000 in two years on Ultimate Team.” Yin Poole, Wesley. Eurogamer. July 25, 2018. Available
                                  25   at: https://www.eurogamer.net/articles/2018-07-23-fifa-player-uses-gdpr-to-find-out-everything-
                                       ea-has-on-him-realises-hes-spent-over-usd10-000-in-two-years-on-ultimate-team .
                                  26   26
                                              “Is It Too Expensive To Be Good At FIFA?” Nick Ackerman. Bleacher Report. May 20,
                                  27   2019. Available at https://bleacherreport.com/articles/2836528-is-it-too-expensive-to-be-good-at-
                                       fifa .
                                  28   27
                                               Id.
                                                                                   23
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                                   1   increase the desirability of additional products by intentionally increasing the frustration

                                   2   experienced with the free core service.” This strategy of monetizing games by creating “demand

                                   3   through inconvenience” includes “employ[ing] gambling-like sale tactics (i.e., gamblification) to

                                   4   persuade users to purchase premium products.”28 In other words, the business model’s “core idea”

                                   5   is “often to impair the use of the free service through designed inconveniences, i.e., to reduce the

                                   6   enjoyment in order to entice users to purchase premium services or features that eliminate the

                                   7   obstacles of the freemium version.”29 For example, although gamers may earn coins to then purchase

                                   8   Ultimate Team Packs, EA purposefully impairs this game aspect by making the ability to earn coins

                                   9   exceedingly hard and time-consuming (or “grind” using gamer parlance) to entice spending and
                                  10   gambling.

                                  11           77.     EA’s Ultimate Team Packs have been described as akin to gambling on a roulette
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                                  12   wheel or slot machine:

                                  13           The thrill of opening a pack to hopefully land on of soccer’s most prominent names
                                               is similar to rolling the dice in roulette or pulling the lever on a slot machine. It often
                                  14           leads to disappointment, but the potential, however small, to win big keeps players
                                  15           buying packs. When FUT coins run dry, players can purchase FIFA points using real
                                               world currency and use them towards card packs. It a vicious cycle and one
                                  16           insidiously glorified in countless Loot Box YouTube videos.30
                                  17           EA’s Sports Franchise Games Are Rated “E – Everyone”, “E 10+” or Ages “4+” But
                                               Do Not Disclose Gambling, “Simulated Gambling,” Or the Loot Box Mechanism
                                  18

                                  19           78.     Video game content rating systems are used by video game developers and platform
                                  20   providers to classify individual games into suitability-related groups organized by age ranges based

                                  21   on the game’s content relating to substances (alcohol, tobacco, or drugs), blood and gore, violence,

                                  22   mature and crude humor, profane language, depictions of nudity, real or simulated gambling, and

                                  23

                                  24   28
                                              Hamari J, Hanner N, & Koivisto J, “Why pay premium in freemium services?” A study on
                                  25   perceived value, continued use and purchase intentions in free-to-play games, International J of
                                       Information Management, 51:102040 (2020).
                                  26   29
                                               Id.
                                  27   30
                                              “Proof You’ll Regret Wasting Money on That FIFA 20 Loot Box.” Thomas Bardwell. CCN,
                                       Gaming News. Available at https://www.ccn.com/proof-youll-regret-wasting-money-on-that-fifa-
                                  28
                                       20-loot-box/ .
                                                                                    24
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                                   1   sexual content or themes. One of the primary reasons for these ratings is to inform consumers,

                                   2   especially parents, of potentially objectionable content within a game.

                                   3           79.    In the United States, much of the video game industry “self-regulates” through the

                                   4   Entertainment Software Ratings Board (“ESRB”). ESRB ratings are based on a content rating

                                   5   questionnaire completed by the game developer. Developers, including EA, have the ability to

                                   6   appeal the rating assigned by ESRB. According to the ESRB, age ratings are provided so parents

                                   7   can choose age-appropriate games for their children:

                                   8           ESRB ratings provide information about what’s in a game or app so parents and
                                               consumers can make informed choices about which games are right for their family.
                                   9           Ratings have 3 parts: Rating Categories, Content Descriptors, and Interactive
                                  10           Elements.

                                  11           80.    On its website, the ESRB notes that a game rated “Everyone” tells parents and
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                                  12   gamers that a game’s “content is generally suitable for all ages. [It] may contain minimal cartoon,

                                  13   fantasy, or mild violence, and/or infrequent use of mild language.” While gambling (real gambling

                                  14   and simulated gambling) is listed as a content descriptor on ESRB. EA’s “E for Everyone” and “E

                                  15   10+” ratings do not contain a disclosure that the game contains gambling, or even “simulated

                                  16   gambling.” Instead, the ESRB only generically discloses “In-Game Purchases.” But what is omitted

                                  17   in the “Rating” – and never disclosed by EA – is that the “items” that can be purchased “in-game”

                                  18   are randomized Ultimate Team Packs that are real gambling.

                                  19           81.    EA also makes mobile app versions of its Loot Box games available to download
                                  20   through the Apple App Store and Google Play store. Google lists the ESRB-based age-ratings for

                                  21   EA’s games. However, Apple does not ascribe to the ESRB ratings system. Instead, Apple has

                                  22   created its own ratings categories for games available to download in its App Store. The Apple App

                                  23   Store age ratings are set by the game developer (here, EA).31 On the Apple App Store, FIFA,

                                  24   Madden NFL, and NBA Live are all age-rated “4+.”

                                  25           82.    Despite being marketed as appropriate for children as young as four years old, the

                                  26   EA’s mobile game age ratings also do not contain any disclosures concerning gambling or the use
                                  27
                                       31
                                              https://help.apple.com/app-store-connect/#/dev599d50efb (Apple’s webpage states the
                                  28
                                       developer is “required to set an age rating for your app.”).
                                                                                         25
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                                   1   of Loot Boxes. Instead, the only disclosure is the vague and generic statement a game has “In-App

                                   2   Purchases.” Below are screen shots of the App Store download graphics for EA’s FIFA, Madden

                                   3   NFL, and NBA Live mobile games:

                                   4

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                                  18          83.    Through EA’s efforts, FIFA, Madden NFL, and NBA Live have been rated “E for

                                  19   Everyone” by the ESRB, NHL has been age-rated “E 10+”, and EA’s mobile versions of FIFA,
                                  20   Madden NFL and NBA Live are rated “4+” in the Apple App Store. Thus, there is no notice – and

                                  21   no requirement of any notice by EA – to the parent or the child that a game contains Loot Boxes or

                                  22   other gambling mechanisms.

                                  23          EA Earns Huge Profits From Ultimate Team Packs in Its Games

                                  24          84.    EA does not report earnings based on Ultimate Team Packs or other Loot Box

                                  25   mechanisms specifically. However, EA does report the net revenues for what it calls “extra content

                                  26   sales” which includes the Loot Box mechanism in all its forms. According to EA’s February 4, 2020
                                  27   SEC Form 10-Q, it earned well over $3 Billion in the last three years, attributable to this single

                                  28   income stream:
                                                                                  26
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                                   1           Our most popular live service is the extra content purchased for the Ultimate Team
                                               mode associated with our sports franchises. Ultimate Team allows players to collect
                                   2           current and former professional players in order to build and compete as a
                                   3           personalized team. Net revenue from extra content sales for Ultimate Team was
                                               $1,369 million, $1,180 million and $867 million during fiscal years 2019, 2018 and
                                   4           2017, respectively, a substantial portion of which was derived from FIFA Ultimate
                                               Team.
                                   5

                                   6           85.    EA’s revenue from Ultimate Team Packs constitute a large and material percentage

                                   7   of the entire company’s revenues. According to Cowen analyst Doug Creutz, he has estimated that

                                   8   a third of all Electronic Arts’ annual sales came from loot-box-related mechanisms.32

                                   9                  Countries Have Banned Loot Boxes For Violating Gambling Laws

                                  10           86.    During the last two years, some countries have banned Loot Boxes (Belgium,

                                  11   Netherlands, Japan), while regulators in others report current investigations, including in Australia

                                       where a 2018 report concluded Loot Boxes are “psychologically akin to gambling,” and in the
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                                  12

                                  13   United Kingdom where a July 2020 report from the House of Lords urged the government to

                                  14   immediately “bring loot boxes within the remit of gambling legislation and regulation.” Similarly,

                                  15   lawmakers in Hawaii, Minnesota and Washington introduced state legislation to ban Loot Boxes in

                                  16   video games.

                                  17           87.    For instance, in the study completed in Belgium, the Belgium Gaming Commission

                                  18   looked at Loot Boxes in a variety of video games and determined that they fit the description of a

                                  19   game of chance because all the elements of gambling are present. The research singled out EA’s

                                  20   FIFA video game as constituting gambling. The report specifically found:

                                  21           The paid loot boxes in the examined games Overwatch, FIFA 18 and Counter-Strike:
                                               Global Offensive fit the description of a game of chance because all of the
                                  22           constitutive elements of gambling are present (game, wager, chance, win/loss).
                                  23           88.    Likewise, government officials in the Netherlands studied loot boxes in ten popular
                                  24   games. In its April 2018 report, the Netherlands Gaming Authority determined some Loot Boxes
                                  25

                                  26
                                       32
                                               “‘Loot Boxes’ Could Be Trouble for the Videogame Industry. Here’s What You Need to
                                  27   Know.”       Barrons.      April      15,     2019.      Tae       Kim.       Available     at:
                                       https://www.barrons.com/articles/videogame-publishers-face-scrutiny-over-the-use-of-lock-boxes-
                                  28
                                       51555120828 .
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                                   1   had elements similar to slot machines, and addiction potential similar to blackjack, roulette and

                                   2   bingo. According to the official report, “all of the loot boxes that were studied could be addictive,”

                                   3   “loot boxes have a moderate to high addiction risk potential,” some “have integral elements that are

                                   4   similar to slot machines” complete with “multiple visual and sound effects are added and a ‘near

                                   5   miss’ effect is used,” and “as a result of opening loot boxes, socially vulnerable groups such as

                                   6   young people could eventually be encouraged to play other games of chance.” Noting that all the

                                   7   Loot Boxes could “foster the development of addiction,” the report from the Netherlands Gaming

                                   8   Authority also observed online gamers attribute significant social status value on themselves and

                                   9   other gamers based on the virtual items they win within Loot Boxes.33
                                  10           89.    Australian officials also determined the Loot Box mechanism constitutes a form of

                                  11   gambling that targets minors and otherwise acts “as a gateway to problem gambling and associated
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                                  12   harm later in life.” Accordingly, the March 2020 report prepared by the Australian House of

                                  13   Representatives Standing Committee on Social Policy and Legal recommended mandatory age

                                  14   verification for Loot Box purchasing:

                                  15           Given their resemblance to gambling, the Committee considers that loot boxes and
                                               other simulated gambling elements in video games should be subject to appropriate
                                  16           age restrictions, including through the use of mandatory age verification.34
                                  17
                                               90.    The March 2020 Australian report was preceded by an October 2019 report from the
                                  18
                                       Australian Gambling Research Centre finding “the use of ‘loot boxes’ or micro-transactions for
                                  19
                                       chance-based items in online video games [is] a form of gambling that is readily accessible to players
                                  20
                                       under the age of 18 years.” This 2019 Australian report also found the presence of Loot Boxes in
                                  21
                                       video games “normalizes gambling”:
                                  22
                                               The use of for-money, in-game ‘loot boxes’ as a mechanism through which
                                  23           additional in-game items can be obtained familiarises players, many of whom are

                                  24
                                       33
                                             Netherlands Gaming Authority (Kansspelautoriteit), Study into loot boxes: A treasure or a
                                  25   burden? (Apr. 10, 2018), available at https://kansspelautoriteit.nl/english/loot-boxes/.
                                       34
                                  26           Parliament of the Commonwealth of Australia, House of Representatives Standing
                                       Committee on Social Policy and Legal Affairs, Protecting the age of innocence: Report of the
                                  27   inquiry into age verification for online wagering and online pornography (Feb. 2020), available at
                                       https://parlinfo.aph.gov.au/parlInfo/download/committees/reportrep/024436/toc_pdf/Protectingthe
                                  28
                                       ageofinnocence.pdf.
                                                                                        28
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                                   1           less than 18 years of age, with a gambling activity that is practically identical to
                                               games available on external sites. It coexists there with lotteries, eSports betting and
                                   2           other more explicit gambling activities played in virtual currency. This process of
                                   3           ‘gamblification’ can be seen as analogous to that occurring in the context of sports
                                               betting, whereby gambling practices are becoming increasingly normalised as an
                                   4           inherent component of sports engagement (Jenkinson, de Lacy-Vawdon, & Carroll,
                                               2018; Lopez-Gonzalez & Griffiths, 2016).35
                                   5

                                   6           91.    On July 2, 2020, nine months after the UK’s Department of Digital, Culture, Media

                                   7   and Sport concluded that Loot Boxes should be regulated under the UK’s gambling laws, the House

                                   8   of Lords called for the immediate regulation of loot boxes as gambling: “While we welcome the

                                   9   government’s intention to consider the relationship between gambling and video gaming, we believe

                                  10   that this issue requires more urgent attention.” The House of Lords’ report noted the “evidence we

                                  11   have heard has stressed the urgency of taking action.” According, the House of Lords “echo the

                                       conclusion of the [UK’s] Children’s Commissioner’s report, that if a product looks like gambling
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                                  12

                                  13   and feels like gambling, it should be regulated as gambling” and therefore recommended that loot

                                  14   boxes be immediately deemed gambling.36

                                  15           92.    Here in the United States, the Federal Trade Commission recently hosted a workshop

                                  16   on Loot Boxes and U.S. Senators Maggie Hassan (D-NH)), and Josh Hawley (R-MO) introduced a

                                  17   bill co-sponsored by Ed Markey (D-MA) and Richard Blumenthal (D-CT) titled “The Protecting

                                  18   Children From Abusive Games Act” that would prohibit Loot Boxes in minor-oriented games. The

                                  19   proposed bill includes a prohibition in minor-oriented games of Loot Boxes, which it defines as “an

                                  20   add-on transaction to an interactive digital entertainment product that in a randomized or partially

                                  21   randomized fashion unlocks a feature of the product or adds to or enhances the entertainment value

                                  22   of the product[.]”

                                  23

                                  24
                                       35
                                              Uma Jatkar & Rebecca Jenkinson, House of Representatives Standing Committee on Social
                                  25   Policy and Legal Affairs: Submission to the Inquiry into Age Verification for Online Wagering and
                                       Online Pornography, Australian Gambling Research Center, Australian Institute of Family Studies
                                  26
                                       (Oct. 25, 2019).
                                  27   36
                                               The full report titled “Gambling Harm—Time for Action (July 2, 2020)” from the House of
                                       Lords Select Committee on the Social and Economic Impact of the Gambling Industry is available
                                  28
                                       at https://publications.parliament.uk/pa/ld5801/ldselect/ldgamb/79/79.pdf.
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                                   1           EA Ultimate Team Packs Constitute Gambling in Violation of California Law

                                   2           93.    EA’s Ultimate Team Packs are a form of gambling and violate California’s anti-

                                   3   gambling laws. According to the California Bureau of Gambling Control, by paying for and opening

                                   4   Loot Boxes within the game, the game is creating a “gambling device.” It states:

                                   5           California’s gambling device statutes are broad in their coverage and prohibit any
                                               person from owning, renting, or possessing illegal gambling devices. (Penal Code,
                                   6           §§ 330a, 330b, 330.1.) An illegal gambling device has three features:
                                   7
                                                      1.     It is a machine, apparatus, or device (coin operation is not required);
                                   8                  2.     Something of value is given to play the device; and
                                   9                  3.     The player has the opportunity to receive something of value by any
                                                             element of hazard or chance (“something of value” is not limited to
                                  10                         coins, bills, or tokens—it also includes free replays, additional
                                                             playing time, redemption tickets, gift cards, game credits, or
                                  11
                                                             anything else with a value, monetary or otherwise.) (Penal Code,
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                                  12                         §§ 330a, 330b & 330.1.)

                                  13           94.    None of these elements can be in dispute. A gamer uses his console, computer,

                                  14   smartphone or tablet with the EA sports franchise game on it (#1); the gamer pays real-world

                                  15   currency for the opportunity to open an Ultimate Team Pack (#2); and the Ultimate Team Pack is a

                                  16   randomized chance to win something valuable in-game (#3).

                                  17           95.    The randomized virtual items that may be won by purchasing and opening a Loot

                                  18   Box have value. Research demonstrates that “[i]n general, [] virtual items are valued for many of

                                  19   the same reasons as more tangible commodities.” Nevertheless, because “the symbolic value of a

                                  20   virtual good stems from its role and meaning inside the game…A person not part of that social world

                                  21   would probably not see the good as valuable at all.”37 Indeed, there would be no incentive to acquire

                                  22   or offer Loot Box items, including cosmetics if they did not have some sort of value to the player.

                                  23           96.    Economic theories almost all assert market price as the best indicator of value.

                                  24   Evidence of the real-world value of the randomized Loot Box items includes that where these virtual

                                  25   items are tradeable for real-world money, substantial transactions of real currency have occurred.

                                  26   Furthermore, most virtual items are sold for less than the cost of a Loot Box (representing real

                                  27
                                       37
                                             Vili Lehdonvirta, Virtual item sales as a revenue model: identifying attributes that drive
                                  28
                                       purchase decisions, Electron Commer Res, 9:97-113 (2009).
                                                                                     30
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                                   1   financial loss), refuting the assertion that no player who opens a Loot Box makes a loss. Likewise,

                                   2   gamers who purchase virtual items also spend significantly more in total on games demonstrating a

                                   3   willingness to spend additional money acquiring virtual items and the additional financial value of

                                   4   these items over and above the game itself.38 Likewise, in games such as EA’s games at issue where

                                   5   the items contained in Loot Boxes are categorized by frequency and rarity, value is inherently

                                   6   assigned to the items. Moreover, the collection of rare items is seen as a sign of status within the

                                   7   gaming community, thus ascribing a form of social value to the items.39

                                   8           97.    Professors Drummond, Sauer, Hall, Zendle and Loudon specifically analyzed

                                   9   whether the virtual items that may be won from randomized Loot Boxes have real-world monetary
                                  10   value. In their 2020 paper published in the top-tier journal Nature, Drummond et al. determined that

                                  11   Loot Boxes have value using numerous economic theories. The authors concluded:
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                                  12           We have demonstrated that virtual items have monetary value to gamers irrespective
                                               of whether they can be cashed out. Therefore, randomised virtual items (loot boxes)
                                  13           purchased for real money likely satisfy the requirements of value needed to meet the
                                  14           legal definitions of gambling in many jurisdictions.40

                                  15           98.    In fact, there is a market for EA Ultimate Team accounts, items and coins to be

                                  16   bought and sold outside of the game itself. The value, or price, of each game account is determined

                                  17

                                  18

                                  19   38
                                               Drummond et al., Why loot boxes could be regulated as gambling, Nature Human Behavior,
                                       DOI 10.1038/s41562-020-0900-3 (2019). Drummond and co-authors analyzed sales of 2,319 virtual
                                  20
                                       items from three popular games. In the aggregate, sales of the virtual items exceeded one billion
                                  21   dollars, with the individual items being sold for between $0.03 and $743.80 each. “Contradicting
                                       the common argument that loot boxes are not gambling because no player loses upon opening a loot
                                  22   box” the “overwhelming majority of players incur financial losses when on-selling loot box items,
                                       with ~93% of sales recouping less than the purchase price.”
                                  23   39
                                               For instance, Dr. Vili Lehdonvirta, an economic sociologist, professor at the University of
                                  24   Oxford and former game developer, points out that in the game Ultima Online, “one of the most
                                       highly valued virtual items in the whole system was a small brown lump named ‘horse dung’.
                                  25   Despite its very modest appearance and complete lack of performance or functionality, people have
                                       paid the equivalent of hundreds of U.S. dollars for the item.” Vili Lehdonvirta, Virtual item sales as
                                  26
                                       a revenue model: identifying attributes that drive purchase decisions, Electron Commer Res, 9:97-
                                  27   113 (2009).
                                       40
                                             Drummond et al., Why loot boxes could be regulated as gambling, Nature Human Behavior,
                                  28
                                       DOI 10.1038/s41562-020-0900-3 (2019).
                                                                                    31
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                                   1   by the “Loot” the player possesses in the account. There is even a selection of online companies,

                                   2   including playerup.com who claim to specialize in buying and selling these video game accounts.41

                                   3             99.    As noted by Wesley Yin-Poole, the deputy editor of Euro Gamer: “You can, quite

                                   4   easily, cash out.” There are numerous websites that allow you to sell your Ultimate Team coins for

                                   5   cash.42

                                   6             These websites ensure everything involved in your standard Ultimate Team card
                                                 pack transaction has a real world value, albeit indirectly. Say you get a player you
                                   7             don't want. Successfully sell him on the official, in-game auction house for [FIFA
                                                 Ultimate Team] coins. Then, you can sell those [FIFA Ultimate Team] coins on a
                                   8
                                                 third-party website for cash.43
                                   9
                                                 100.   Whether the potential Loot Box items make playing the game easier and more
                                  10
                                       winnable (“functional” items) or allow players to customize the look of their in-game characters
                                  11
                                       (“cosmetic” items), all Loot Boxes provide a completely randomized chance to win valuable items.
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                                  12
                                       For example, Hamari et al. (2017) observed the value of in-game items that may be obtained to
                                  13
                                       “personalize” video game characters: “One prominent value proposition of a lot of in-game content
                                  14
                                       is that it affords players to differentiate themselves from other players by personalizing their avatar
                                  15
                                       or other belonging in-game.”44 Lehdonvirta (2009) also observed that both functional and cosmetic
                                  16
                                       attributes of virtual goods drive consumers’ purchase decisions. “It could even be speculated that in
                                  17
                                       some cases the functional attributes of a virtual good serve only as an excuse for a purchase that is
                                  18

                                  19
                                  20

                                  21   41
                                               Getting Started: About Us, PLAYERUP, https://www.playerup.com/support-
                                  22   tickets/knowledge-base/getting-started-about-us.33/ (last visited Aug. 3, 2020) (“PlayerUp is a free
                                       online platform for players of massive multiplayer online (MMO) games to buy, sell, and trade
                                  23   digital accounts.”).
                                       42
                                               See, e.g. the following websites: https://www.utstore.com/, https://www.mmoga.com/,
                                  24
                                       https://www.playerauctions.com/, https://www.buyfifacoins.com/ .
                                  25   43
                                             “When it comes to FIFA 18, you can most definitely cash out,” Eurogamer, Yin-Poole,
                                       Wesley (October 23, 2017). Available at https://www.eurogamer.net/articles/2017-10-23-when-it-
                                  26
                                       comes-to-fifa-18-you-can-most-definitely-cash-out .
                                  27   44
                                              Hamari J, Alha K, Järvelä S, Kivikangas JM, Koivisto J, & Paavilainen J, Why do players
                                       buy in-game content? An empirical study on concrete purchase motivations, Computers in Human
                                  28
                                       Behavior, 68:538-546 (2017).
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                                   1   primarily motivated by hedonic or social aspects, a technique commonly applied in marketing high-

                                   2   performance automobiles.”45

                                   3           101.    Because of scarcity bias (i.e., humans place a higher value on an object that is scarce),

                                   4   players gamble money to open Loot Boxes hoping they can win the “rare” Loot Box items

                                   5   considered more valuable than the “common” items, which are often worthless duplicates.46

                                   6   Knowing this, EA and other game developers “manufacture rarity (also known as ‘artificial

                                   7   scarcity’) to increase the value of the assets they are selling.”47

                                   8           102.    EA is fully aware of the market for Ultimate Team virtual currency and that currency

                                   9   is sold for millions of dollars each year. In fact, EA testified in a federal criminal trial to help obtain
                                  10   the criminal conviction of wire fraud against a FIFA game hacker for illegally obtaining EA’s virtual

                                  11   coins. As explained by the Department of Justice, the coins have real value and can easily be
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                                  12   exchanged for real currency:

                                  13           Clark and his co-conspirators circumvented multiple security mechanisms created
                                               by EA in order to fraudulently obtain FIFA coins worth over $16 million.
                                  14           Specifically, Clark and his co-conspirators created software that fraudulently
                                               logged thousands of FIFA Football matches within a matter of seconds, and as a
                                  15
                                               result, EA computers credited Clark and his co-conspirators with improperly earned
                                  16           FIFA coins. Due to the popularity of FIFA Football, a secondary market has
                                               developed whereby FIFA coins can be exchanged for U.S. currency. Clark and his
                                  17           co-conspirators subsequently exchanged their FIFA coins on the secondary market
                                               for over $16 million.48
                                  18
                                               103.    EA admits its Loot Boxes provide gamers the chance to hit the big time by winning
                                  19
                                       valuable items. For instance, discussing “5 reasons to play FIFA mobile,” EA states these in-game
                                  20

                                  21

                                  22
                                       45
                                  23         Vili Lehdonvirta, Virtual item sales as a revenue model: identifying attributes that drive
                                       purchase decisions, Electron Commer Res, 9:97-113 (2009).
                                  24   46
                                               Mittone L, Savadori L, “The Scarcity Bias,” Applied Psychology. 58(3): 453-468 (2009).
                                  25   47
                                               Vili Lehdonvirta, Virtual item sales as a revenue model: identifying attributes that drive
                                       purchase decisions, Electron Commer Res, 9:97-113 (2009) (“Rarity is perhaps the most socially
                                  26
                                       oriented attribute of virtual goods, because its value is strongly associated with its ability to
                                  27   distinguish a (small) group of owners from non-owners.”)
                                       48
                                              https://www.justice.gov/usao-ndtx/pr/fourth-defendant-convicted-scheme-defrauded-
                                  28
                                       software-company-more-16-million-worth .
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                                   1   Ultimate Team purchases can be used to enhance certain gameplay elements: “Find and add players

                                   2   with certain stats boosts to give your side that extra advantage on the pitch.”49

                                   3                                   CLASS ACTION ALLEGATIONS

                                   4           104.    Pursuant to Federal Rule of Civil Procedure 23, Plaintiff seeks certification of a

                                   5   nationwide class consisting of:

                                   6               All persons who paid to receive randomized virtual items from an “Ultimate
                                                   Team Pack” purchase within an Electronic Arts video game.
                                   7

                                   8           105.    The Class excludes EA’s officers and directors, current or former employees,

                                   9   including their immediate family members, as well as any judge, justice or judicial officer presiding
                                  10   over this matter and members of their immediate families and judicial staff. Plaintiff reserves the

                                  11   right to amend the Class definition or include subclasses if discovery and further investigation reveal
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                                  12   that the Class should be expanded or otherwise modified.

                                  13           106.    Plaintiff’s claims are typical of the claims of the members of the Class, because

                                  14   Plaintiff and all other members of the Class were damaged by the same wrongful conduct committed

                                  15   by Defendant, as alleged more fully herein.

                                  16           107.    Plaintiff will fairly and adequately protect the interests of the Class. The interests of

                                  17   the class representative are coincident with, and not antagonistic to, the interests of the other

                                  18   members of the Class.

                                  19           108.    Plaintiff has retained counsel competent and experienced in the prosecution of class
                                  20   action litigation.

                                  21           109.    Questions of law and fact common to the members of the Class are central here and

                                  22   predominate over questions that may affect only individual members. Among the questions of law

                                  23   and fact common to the Class are:

                                  24                   (a)     Whether EA’s Ultimate Team Packs (or similar device) are gambling under

                                  25   California law;

                                  26
                                  27

                                  28   49
                                               https://www.ea.com/games/fifa/news/5-reasons-fifa-mobile
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                                   1                  (b)     Whether EA’s Ultimate Team Packs constitute an unlawful business practice

                                   2   under Cal. Bus. and Prof. Code §17200, et seq.;

                                   3                  (c)     Whether EA’s Ultimate Team Packs constitute an unfair business practice

                                   4   under Cal. Bus. and Prof. Code §17200, et seq.;

                                   5                  (d)     Whether Defendant’s Ultimate Team Packs constitute gambling or create a

                                   6   gambling device under California law an in violation of Cal. Pen. Code §§ 330, et seq.;

                                   7                  (e)     Whether EA violated California Civil Code §1770(a)(14);

                                   8                  (f)     Whether EA was unjustly enriched as a result of the conduct alleged herein;

                                   9   and,
                                  10                  (g)     Whether EA’s conduct violated the other provisions of statutory and common

                                  11   law outlined in this Complaint.
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                                  12          110.    A class action is superior to all other available means for the fair and efficient

                                  13   adjudication of this controversy. Individualized litigation would create the danger of inconsistent or

                                  14   contradictory judgments arising from the same set of facts. Individualized litigation would also

                                  15   increase the delay and expense to all parties and the court system from the issues raised by this

                                  16   action. The burden and expense that would be entailed by individual litigation makes it

                                  17   impracticable or impossible for Class members to prosecute their claims individually. Further, the

                                  18   adjudication of this action presents no unusual management difficulties.

                                  19          111.    Unless a class is certified, EA will retain monies received as a result of its improper
                                  20   conduct. Unless a classwide injunction is issued, EA will continue to commit the violations alleged,

                                  21   and will continue to promote and engage in the unfair and unlawful gambling activities discussed

                                  22   herein. EA has acted or refused to act on grounds that are generally applicable to the Class so that

                                  23   injunctive and declaratory relief is appropriate to the Class as a whole.

                                  24                                      FIRST CAUSE OF ACTION

                                  25                                Unlawful and Unfair Business Practices
                                                       in Violation of the California Unfair Competition Law (“UCL”)
                                  26                               (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                                  27          112.    Plaintiff realleges and incorporates by reference the allegations set forth in each of

                                  28   the preceding paragraphs of this Complaint.
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                                   1          113.    Plaintiff and Defendant are “persons” within the meaning of the UCL. Cal. Bus. &

                                   2   Prof. Code § 17201.

                                   3          114.    The UCL defines unfair competition to include any “unlawful, unfair or fraudulent

                                   4   business act or practice.” Cal. Bus. Prof. Code § 17200.

                                   5          115.    By committing the acts and practices alleged herein, EA has engaged in unlawful

                                   6   and unfair business practices in violation of the UCL.

                                   7          116.    Unlawful Conduct: As a result of engaging in the conduct alleged in this Complaint,

                                   8   EA has violated the UCL’s proscription against engaging in unlawful conduct by virtue of its

                                   9   violation of California’s gambling laws, its violation of Federal gambling laws, and its violations of
                                  10   the California Civil Code §§ 1710 and 1711, as well as the Consumers Legal Remedies Act,

                                  11   California Civil Code § 1770(a)(14).
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                                  12          117.    More specifically, EA has violated the UCL’s proscription against engaging in

                                  13   “unlawful” business practices by virtue of its conduct in violation of California Business &

                                  14   Professions Code §§ 19800, et seq., California Penal Code §§ 330, et seq., the Illegal Gambling

                                  15   Business Act (18 U.S.C. § 1955), and the Unlawful Internet Gambling Enforcement Act of 2006

                                  16   (31 U.S.C. §§ 5361-5367) as set forth herein. Plaintiff reserves the right to allege other violations

                                  17   of law, which constitute other unlawful business acts or practices. Such conduct is ongoing and

                                  18   continues to this date.

                                  19          118.    Unfair Conduct: In the course of conducting business, EA has violated the UCL’s
                                  20   proscription against “unfair” business practices by, among other things:

                                  21                  (a)        Engaging in the conduct alleged in this Complaint, which is illegal and also

                                  22   violates legislatively-declared policies articulated in, inter alia, California Business & Professions

                                  23   Code §§ 19800, et seq., California Penal Code §§ 330, et seq., the Illegal Gambling Business Act

                                  24   (18 U.S.C. § 1955), and the Unlawful Internet Gambling Enforcement Act of 2006 (31 U.S.C.

                                  25   §§ 5361-5367) by conducting illegal and unlicensed gambling business including at places not

                                  26   suitable for gambling activities, knowingly accepting payments from those who participated in
                                  27   Defendant’s unlawful Internet gambling, and promoting predatory gambling as entertainment for

                                  28   children and families;
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                                   1                  (b)     Intentionally profiting from conduct designed to create and/or exploit

                                   2   addictive tendencies in vulnerable minors, and adolescents in particular; and,

                                   3                  (c)     Omitting important information and misleading parents of vulnerable minors

                                   4   and adolescents concerning the addictive, costly and random chance nature of the Loot Box

                                   5   mechanism and its use in Defendant’s games.

                                   6          119.    EA has also violated the UCL’s proscription against unfair conduct as a result of

                                   7   engaging in the conduct alleged in this Complaint, which violates legislatively-declared policies

                                   8   articulated in, inter alia, California Civil Code §§ 1710, 1711, and 1770(a)(14).

                                   9          120.    There is no societal benefit from EA’s conduct which includes promoting addictive
                                  10   gambling as entertainment for children and families. There is only harm from EA’s conduct. While

                                  11   Plaintiff was harmed, EA was unjustly enriched by its deceptive, predatory and harmful conduct.
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                                  12   As a result, EA’s conduct is “unfair,” as it offended an established public policy. Further, EA

                                  13   engaged in immoral, unethical, oppressive, and unscrupulous activities that are substantially

                                  14   injurious to consumers as the gravity of EA’s conduct outweighs any alleged benefits attributable

                                  15   to such conduct.

                                  16          121.    There were reasonably available alternatives to further EA’s legitimate business

                                  17   interests, other than the conduct described herein.

                                  18          122.    EA’s violations of the UCL continue to this day. As a direct and proximate result of

                                  19   EA’s violations of the UCL, Plaintiff has suffered actual damage in that he paid for and downloaded
                                  20   games, and paid for illegal Loot Boxes and other gambling mechanisms, and subjected themselves

                                  21   to exploitative games as alleged herein.

                                  22          123.    Unless restrained and enjoined, EA will continue to engage in the unlawful and unfair

                                  23   conduct described herein.

                                  24          124.    Pursuant to Section 17203 of the UCL, Plaintiff and the Class seek an Order that

                                  25   requires EA: (a) to modify its games in a manner that prevents its users from engaging in gambling,

                                  26   including through the use of Ultimate Team Packs or similar mechanisms; (b) to provide owners of
                                  27   EA with notice that the game is being modified to eliminate Ultimate Team Packs; (c) to provide

                                  28   restitution of all money obtained from Plaintiff and other members of the Class as a result of EA’s
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                                   1   unfair competition; and (d) requires EA to pay the attorney fees and costs incurred by counsel for

                                   2   Plaintiff and the proposed Class in accordance with California Code of Civil Procedure § 1021.5.

                                   3                                     SECOND CAUSE OF ACTION

                                   4                 Violation of the California Consumers Legal Remedies Act (“CLRA”)
                                                                        (Cal. Civ. Code §§ 1750, et seq.)
                                   5

                                   6          125.      Plaintiff realleges and incorporates by reference the allegations set forth in each of

                                   7   the preceding paragraphs of this Complaint.

                                   8          126.      This claim for relief is brought pursuant to the CLRA. Plaintiff and members of the

                                   9   Class are “consumers,” as that term is defined by Civil Code §1761(d), because they bought video
                                  10   games and in-game Ultimate Team Packs for personal, family, or household purposes.

                                  11          127.      Plaintiff and Class members have engaged in a “transaction” with EA, as that term
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                                  12   is defined by Civil Code §1761(e).

                                  13          128.      The conduct alleged in this Complaint constitutes unfair methods of competition and

                                  14   unfair and deceptive acts and practices for the purposes of the CLRA, and were undertaken by EA

                                  15   in transactions intended to result in, and which resulted in, the sale of goods to consumers; namely,

                                  16   the sale of video games and Ultimate Team Packs in the video games sold by EA to Plaintiff and

                                  17   Class members.

                                  18          129.      By engaging in the conduct described herein, EA has violated subdivision (a)(14) of

                                  19   California Civil Code § 1770 by,
                                  20              (14) Representing that a transaction confers or involves rights, remedies, or
                                                  obligations that it does not have or involve, or that are prohibited by law.
                                  21

                                  22          130.      Defendant violated the CLRA by representing to Plaintiff and Class members that

                                  23   transactions involving Ultimate Team Packs confer or involve rights to potentially valuable prizes,

                                  24   when in fact these transactions constitute unlawful gambling transactions that are prohibited by law.

                                  25          131.      Defendant’s violations of the CLRA proximately caused injury in fact to Plaintiff

                                  26   and the Class.
                                  27

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                                   1          132.     Plaintiff and the Class members transacted with Defendant on the belief that the

                                   2   transaction was lawful. Indeed, a reasonable consumer believes in the lawfulness of his or her

                                   3   transactions.

                                   4          133.     Pursuant to Cal. Civ. Code § 1782(d), Plaintiff, individually and on behalf of the

                                   5   other members of the Class, seeks a Court order enjoining the above-described wrongful acts and

                                   6   practices of Defendant and for restitution and disgorgement.

                                   7          134.     Pursuant to Cal. Civ. Code § 1782(a), Defendant was notified in writing by certified

                                   8   mail of the particular violations of Section 1770 of the CLRA, which notification demanded that

                                   9   Defendant rectify the problems associated with the actions detailed above and give notice to all
                                  10   affected consumers of Defendant’s intent to so act. A copy of the letter is attached as Exhibit A.

                                  11          135.     If Defendant fails to rectify or agree to rectify the problems associated with the
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                                  12   actions detailed above and give notice to all affected consumers within 30 days of the date of written

                                  13   notice pursuant to § 1782 of the Act, Plaintiff will amend this Complaint to add claims for actual,

                                  14   punitive and statutory damages, as appropriate.

                                  15          136.     Defendant’s conduct is fraudulent, wanton, and malicious.

                                  16          137.     Pursuant to § 1780(d) of the Act, attached hereto as Exhibit B is the affidavit showing

                                  17   that this action has been commenced in the proper forum.

                                  18                                      THIRD CAUSE OF ACTION

                                  19                                            Unjust Enrichment
                                  20          138.     Plaintiff realleges and incorporates by reference the allegations set forth in each of

                                  21   the preceding paragraphs of this Complaint.

                                  22          139.     By its wrongful acts and omissions, EA was unjustly enriched at the expense of and

                                  23   to the detriment of Plaintiff and the Class. EA was unjustly enriched as a result of the compensation

                                  24   it received from marketing and selling the unlawful and unfair Ultimate Team Packs to Plaintiff and

                                  25   the Class.

                                  26          140.     Plaintiff and the Class seek restitution from EA and seek an order of this Court
                                  27   disgorging all profits, benefits, and other compensation obtained by EA from its wrongful conduct.

                                  28          141.     Plaintiff and the Class have no adequate remedy at law.
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                                   1                                        PRAYER FOR RELIEF

                                   2          WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, pray for relief

                                   3   in this Complaint as follows:

                                   4          (a)     For an order certifying the Class as requested herein;

                                   5          (b)     For restitution and disgorgement of the revenues wrongfully retained as a result of

                                   6   EA’s wrongful conduct;

                                   7          (c)     For declaratory and injunctive relief as permitted by law or equity, including

                                   8   enjoining EA from continuing the unlawful practices as set forth herein;

                                   9          (d)     For an award of attorney fees, where applicable;
                                  10          (e)     For an award of costs; and

                                  11          (f)     For any and all other relief the Court deems just and appropriate.
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                                  12                                     DEMAND FOR JURY TRIAL

                                  13          Based on the foregoing, Plaintiff, on behalf of himself, and all others similarly situated,

                                  14   hereby demand a jury trial for all claims so triable.

                                  15                                                    Respectfully submitted,

                                  16   Dated: August 13, 2020                           BLOOD HURST & O’REARDON, LLP
                                                                                        TIMOTHY G. BLOOD (149343)
                                  17                                                    THOMAS J. O’REARDON II (247952)
                                                                                        CRAIG W. STRAUB (249032)
                                  18
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